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                                      CIVIL COVER SHEET FOR PRISONER CASES

 Case No. 23-10647                                 Judge: Sean F. Cox                  Magistrate Judge:   Curtis Ivy, Jr.


 Name of 1st Listed Plaintiff/Petitioner:                               Name of 1st Listed Defendant/Respondent:
 SCOTT SEDORE                                                           HEIDI WASHINGTON, ET AL


 Inmate Number:          210661                                         Additional Information:

 Plaintiff/Petitioner’s Attorney and Address Information:




 Correctional Facility:
 G. Robert Cotton Correctional Facility
 3500 N. Elm Road
 Jackson, MI 49201
 JACKSON COUNTY




BASIS OF JURISDICTION                                                     ORIGIN
      G 2 U.S. Government Defendant                                                G 1 Original Proceeding
      G 3 Federal Question                                                         G 5 Transferred from Another District Court
                                                                                   G Other:
NATURE OF SUIT
     G 530 Habeas Corpus
     G 540 Mandamus                                                       FEE STATUS
     G 550 Civil Rights                                                         G IFP In Forma Pauperis
     G 555 Prison Conditions                                                    G PD Paid


PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed?
           Yes                 No
    If yes, give the following information:
                        Court:
                        Case No:
                        Judge:

2. Other than stated above, are there any pending or previously discontinued or dismissed companion cases in this or any
   other court, including state court? (Companion cases are matters in which it appears substantially similar evidence will
   be offered or the same or related parties are present and the cases arise out of the same transaction or occurrence.)
          Yes                  No
    If yes, give the following information:
                        Court:
                        Case No:
                        Judge:



MIED (Rev. 07/06) Civil Cover Sheet for Prisoner Cases
